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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )   Crim. No. 6:13-CR-00020-GFVT-HAI-27
                                                  )
 V.                                               )
                                                  )
 AARON DAVID ELLISON,                             )                     ORDER
                                                  )
        Defendant.                                )
                                                  )

                                       *** *** *** ***

       This matter is before the Court on the Report and Recommendation filed by United States

Magistrate Judge Hanly A. Ingram. [R. 1404.] Defendant Aaron David Ellison has been

charged with three violations of his terms of supervised release. Id.

       In October, 2014, Mr. Ellison pleaded guilty to conspiracy to manufacture 50 grams or

more of a methamphetamine mixture in violation of 2 U.S.C §§ 846 and 841(a)(1). [R. 836.]

The undersigned sentenced Mr. Ellison to 100 months imprisonment followed by a four-year

term of supervised release. [R. 829.] Mr. Ellison began his term of supervision on September

20, 2019. On October 3, 2019, the United States Probation Office (USPO) issued a Supervised

Release Violation Report (the Report) charging Mr. Ellison with one violation of the terms of his

supervised release. Additional addendums were issued on November 7, 2019 and March 9,

2020, each charging an additional violation. Mr. Ellison was arrested on March 9, 2020.

       The violations in the Report and the Addendums (hereinafter collectively, “the Report”)

stem from separate arrests that occurred in Middlesboro, Kentucky. Violation 1 alleges Mr.

Ellison violated the condition requiring he not commit another federal, state or local crime. Mr.
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Ellison was arrested by Middlesboro police in September, 2019 for various misdemeanors,

including Operating a Motor Vehicle Under the Influence of Alcohol/Drugs and Resisting

Arrest. This is a Grade C violation. Violation 2 alleges Mr. Ellison violated the condition

requiring he abstain from the use of alcohol. This violation is predicated on the DUI charge

underlying Violation 1. This is a Grade C violation. Like Violation 1, Violation 3 alleges Mr.

Ellison violated the condition requiring he not commit another federal, state or local crime. Mr.

Ellison was again arrested by Middlesboro Police in October, 2019 for various offenses,

including Possession of a Controlled Substance and Tampering with Physical Evidence. Mr.

Ellison was indicted on these charges, and a Persistent Felony Offender charge was added by the

grand jury. This is a Grade B violation.

         Mr. Ellison appeared before Magistrate Judge Hanly A. Ingram for an initial appearance

pursuant to Rule 32.1. [R. 1373.] During the hearing, Mr. Ellison made a knowing, voluntary,

and intelligent waiver of his right to a preliminary hearing. Id. At that time, the United States

made an oral motion for detention, and Mr. Ellison did not argue for release. Id. The Court

found that detention was required.

         The Court scheduled a final revocation hearing for June 5, 2020. [R. 1402.] The hearing

was conducted via videoconference. Id. At his final revocation hearing, Mr. Ellison waived a

formal hearing and stipulated to Violations 1 and 2 in the Report. The United States orally

moved to dismiss Violation 3. As to Violations 1 and 2 Mr. Ellison’s admitted conduct is a

Grade C1 violation. Under the Revocation Table of Chapter 7, Mr. Ellison’s guideline range is

seven to thirteen months. During the final hearing, the parties jointly recommended a sentence



1
  See U.S.S.G. § 7B1.2(b) (“Where there is more than one violation of the conditions of supervision, or the violation
includes conduct that constitutes more than one offense, the grade of the violation is determined by the violation
having the most serious grade.”).

                                                          2
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of thirteen months of imprisonment, followed by four years of supervised release. Mr. Ellison

addressed the Court directly and stated he was fine with the recommendation put forth by his

counsel and the United States, but stated that imprisonment has never helped him because “it was

a bad environment given his addiction issues.” [R. 1404.]

       Taking the parties’ positions under advisement, Judge Ingram considered the relevant

§§ 3553 and 3583 factors in order to determine an appropriate revocation term of imprisonment.

Ultimately, Judge Ingram recommended revocation with a term of imprisonment of thirteen (13)

months, followed by a four-year period of supervised release. Id. Mr. Ellison’s underlying

conviction was a methamphetamine conspiracy, and his role in that conspiracy was cooking

meth. Judge Ingram noted concern that Mr. Ellison’s conduct giving rise to the violations

occurred just four days after he was released from prison. [R. 1404 at 6.] Further, the violations

are similar to Mr. Ellison’s other criminal history, which includes several DUI and public

intoxication offenses. Id. There is also a strong need to protect the public, as the conduct Mr.

Ellison engaged in here—driving while intoxicated—is highly dangerous to others.

       As to the recommendation of four years of supervised release, Judge Ingram noted a

strong need for treatment in this case. Mr. Ellison violated just four days after his release. He

never gave supervision a chance. Further, Judge Ingram recognized Mr. Ellison had never

addressed his substance abuse issues, and could benefit from the monitoring, structure, and aid of

supervised release to help overcome his addiction. The Court agrees with Judge Ingram that Mr.

Ellison should view supervised release as “an opportunity to receive help and resources aimed to

improve his life.” Id. at 7.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Report and

Recommendation advises the parties that objections must be filed within fourteen (14) days of



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service. Id. at 16; see 28 U.S.C. § 636(b)(1). No objections to Judge Ingram’s Report and

Recommendation were filed within the appropriate time by either party. Instead, Mr. Ellison has

filed a waiver of allocution. [R. 1405.]

       Generally, this Court must make a de novo determination of those portions of the Report

and Recommendation to which objections are made. 28 U.S.C. § 636(b)(1)(c). But when no

objections are made, as in this case, the Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, the

Court has examined the record and agrees with Judge Ingram’s recommended disposition.

Accordingly, it is hereby ORDERED as follows:

       1.      The Report and Recommendation [R. 1404] as to Defendant Aaron David Ellison

is ADOPTED as and for the Opinion of the Court;

       2.      Mr. Ellison is found GUILTY of Violations 1 and 2;

       3.      Violation 3 is DISMISSED upon oral motion of the United States;

       4.      Mr. Ellison’s Supervised Release is REVOKED;

       5.      Mr. Ellison is hereby SENTENCED to a term of incarceration of thirteen (13)

months, to be followed by four (4) years of supervised release under the conditions contained

in Defendant’s original judgment [R. 836];

       6.      Judgment shall enter promptly.




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     This the 23d day of June, 2020.




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